
992 A.2d 109 (2010)
In the Interest of G.O.,
Appeal of G.O.
No. 438 EAL 2009.
Supreme Court of Pennsylvania.
April 7, 2010.


*110 ORDER

PER CURIAM.
AND NOW, this 7th day of April, 2010, the Petition for Allowance of Appeal is GRANTED, and the Order of the Superior Court affirming the dispositional order adjudicating Petitioner delinquent is VACATED. The Superior Court erred by failing to address Petitioner's Confrontation Clause issue. The case is REMANDED for reconsideration of that issue in light of Commonwealth v. Allshouse, ___ Pa. ___, 985 A.2d 847 (2009).
